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 8                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS
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11   DEBRA HENDREN,                                )   Case No.: 09-CV-2228 JWL/DJW
                                                   )
12                    Plaintiff,                   )   COMPLAINT
                                                   )
13          vs.                                    )
                                                   )
14   BOARD OF COUNTY COMMISSIONERS                 )
                                                   )
     FOR SEDGWICK COUNTY KANSAS                    )
15
                                                   )
16
                     Defendant.                    )
                                                   )
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18                                              COMPLAINT
19          COMES NOW, Debra Hendren, plaintiff, and in support of her causes of action against
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     defendant states and alleges as follows:
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 1                                      I. Preliminary Statement
 2       1.         “Your kind are not welcomed here” is the sentiment that was leveled at the
 3   Plaintiff, Ms. Hendren in this case when she simply sought to apply for employment with the
 4   defendant.   (See supra Paragraphs 17-18). This is an action brought by plaintiff against
 5   defendant for acts of discrimination experienced by plaintiff on account of her disability. The
 6   defendant is a public entity that has a duty under the law to make all aspects of employment
 7   accessible to individuals who suffer a disability. Here, defendant did not do so. This is unlawful
 8   and discriminatory. The unlawful and discriminatory acts by the defendant and its employees
 9   led to plaintiff's refusal to be hired. Plaintiff has been damaged from these acts and seeks front
10   pay, compensatory damages, pre- and post- judgment interest, litigation expenses, and attorney
11   fees.
12                                      II. Jurisdiction and Venue
13       2.         Jurisdiction of this Court is invoked, for purposes of plaintiff’s American with
14   Disabilities Act and Rehabilitation Act claims pursuant to 42 U.S.C. § 12101 et seq, 29 U.S.C. §
15   794, et seq, 28 U.S.C. § 1331, 28 U.S.C. § 1343(4) respectively. Venue is proper in this court
16   under 28 U.S.C. § 1391(b).
17                                               III. Parties
18       3. Plaintiff was at all times material hereto, a resident of Kansas.
19       4. Defendant is a government entity doing business in the State of Kansas. Defendant is a
20   covered employer under the ADA and has more than 500 employees.
21       5. Plaintiff is legally disabled female and a resident of the State of Kansas and is entitled to
22   equal protection under the law. Plaintiff filed a charge of discrimination with the Kansas
23   Human Rights Commission and Equal Employment Opportunity Commission against defendant
24   and received her right to sue.
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 1      6. The agencies found probable cause that discrimination occurred in this case.            The
 2   defendant refused to provide Ms. Hendren with any monetary compensation and thus, now a
 3   jury must be called upon to value the discrimination faced by Ms. Hendren. This action was
 4   brought within the 90 day jurisdictional time requirement.
 5                                          IV. Factual Allegations
 6            A.      Ms. Hendren is legally disabled
 7      7.            Plaintiff adopts and incorporates the preceding paragraphs by reference.
 8      8.            Ms. Hendren suffers from Foveal Hypoplasia. This condition is degenerative. As
 9   a result of this condition, Ms. Hendren has lost 90% of her vision in both eyes and the condition
10   is getting worse. This is a severe physical impairment that has, and because of the degenerative
11   nature of the condition will continue to, substantially limit Ms. Hendren’s major life activities,
12   to wit: seeing. For ADA purposes, seeing is considered a major life activity. See 29 C.F.R. §
13   1630.2(i).
14            B. Ms. Hendren was qualified for multiple available job positions
15      9.            A "qualified individual with a disability" is defined as "an individual with a
16   disability who, with or without reasonable accommodation, can perform the essential functions
17   of the employment position that such individual holds or desires." 42 U.S.C § 12111(8).
18      10.           Ms. Hendren was qualified for every position that she would have applied for.
19   For instance, Ms. Hendren holds two college degrees and is certified by the Library of Congress
20   as a Braille transcriptionist. Moreover, with a reasonable accommodation, Ms. Hendren could
21   have performed the essential job functions of many of the available positions at that time.
22   However, because of the defendant’s discrimination, Ms. Hendren did not make it to the
23   application process, as she was not even allowed to apply for a position.
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 1            C.      The ADA applies during the application process
 2      11.           The ADA prohibits discrimination against "a qualified individual with a
 3   disability" with respect to "job application procedures . . ." 42 U.S.C. § 12112(a).
 4            D.      Direct evidence of discrimination
 5      12.           On September 15, 2005, plaintiff visited the Sedgwick County Attorney’s office
 6   and individuals in that office recommended that Ms. Hendren apply for a Braille
 7   Transcriptionist position because the court system is always in need of transcriptionist. Upon
 8   this advise, Ms. Hendren entered the defendant’s Human Resource Department in order to see
 9   what positions were available with Respondent and to apply for employment. Ms. Hendren was
10   wearing dark glasses and utilizing the assistance of a walking cane at the time that she entered
11   the Human Resource Department. Both are commonly indicative of a person with a seeing
12   impairment.
13      13.           Plaintiff approached an employee of defendant and inquired about open
14   positions. Plaintiff also requested assistance to apply for positions because of her disability.
15   However, defendant would not provide plaintiff access to any job openings by either providing
16   human assistance with the computers that contained job postings or by providing a computer
17   that had reading or speaking software installed. Additionally, the defendant informed Ms.
18   Hendren that the computers were too old for such software.
19      14.           Moreover, the defendant informed Ms. Hendren that the defendant’s website was
20   not JAWS compatible. JAWS, which stands for “Job Access with Speech” is software
21   commonly used to provide access for individuals with visual impairments to job information
22   stored on computers. This is accomplished by reading aloud what is on the screen. This
23   software is known as a reader.
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 1      15.            Ms. Hendren could have had accessed to the job information with this
 2   accommodation.         Moreover, the ADA explicitly states that the term "reasonable
 3   accommodation" may include "the provision of qualified readers, or interpreters." 42 U.S.C. §
 4   12111(9)(B). By not having JAWS installed on any computers, any person (such as plaintiff)
 5   who suffered serious vision impairment or was completely blind was not able to apply for a
 6   position with the defendant.
 7      16.            Not only did the defendant fail to provide reasonable accommodation in the job
 8   application process, the defendant said to Ms. Hendren: “Isn’t there a place for people like you
 9   to work. Blind people can’t work here. We don’t have any jobs for blind people or any other
10   handicapped people here” and that Ms. Hendren would have trouble finding her way to the
11   defendant’s locations. Then, defendant told Ms. Hendren that the county did not hire blind
12   people.
13      17.            Ms. Hendren also asked for an application and was told that the defendant did
14   not have “have any positions for blind people.”
15             E.      Additional Facts
16      18.            In its response to the administrative investigation, the defendant informed the
17   agency that it agreed that Ms. Hendren did come to its Human Resource Office on September
18   15, 2005.
19      19.            In its response to the administrative investigation, the defendant informed the
20   agency that it agreed that on September 15, 2005, Ms. Hendren was told that there was no such
21   position as a Braille Transcriptionist.
22      20.            In its response to the administrative investigation, the defendant informed the
23   agency that it agreed that on September 15, 2005, Ms. Hendren was told that their computers
24   were not equipped with audio software that spoke out job opening information.
25      21.            An essential function of Defendant’s Human Resource Office is to provide any
26   member of the public with information about all job openings with Respondent, whether

     disabled or not. Defendant did not do so here.
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 1                                     V. First Cause of Action
 2                                        Violation of the ADA
 3      22.        Plaintiff adopts and incorporates the preceding paragraphs as fully set forth
 4   herein.
 5       23.       Defendant has discriminated against plaintiff in violation of ADA by subjecting
 6   her to different treatment because of her gender.
 7       24.       As stated above, at all relevant times, plaintiff had a visual impairment that
 8   substantially limited her ability to see which is a major life function. As such she is disabled
 9   within the meaning of the ADA.
10       25.       Defendant refused to provide plaintiff access to open positions and plaintiff
11   could have gained access to such positions with reasonable accommodations. Moreover,
12   plaintiff was qualified for and with and/or without a reasonable accommodation, could have
13   performed many positions available at the time that she attempted to apply.
14       26.       Defendant knew of plaintiff's impaired vision and plaintiff's impaired vision was
15   a motivating factor in defendant's decision to prevent plaintiff from applying for a position
16   with defendant.
17      27.        As a result of defendant’s conduct alleged in this Complaint, plaintiff has
18   suffered and continues to suffer harm including, but not limited to lost wages, loss of
19   opportunity, as well as humiliation, embarrassment, emotional distress, and mental anguish.
20   These damages are continuing and should be awarded in an amount to be determined at trial.
21                                    VI. Second Cause of Action
22                     Violation of the Rehabilitation Act 29 U.S.C. § 794, et seq
23      28.        Plaintiff adopts and incorporates the preceding paragraphs as fully set forth
24   herein.
25      29.        Elements of the Rehabilitation Act are identical to those in Count 1 and are again
26   incorporated herein.


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 1       30.            Moreover, defendant is the direct recipient of federal funds sufficient to invoke
 2   the coverage of §504, and is unlawfully and intentionally discriminating against plaintiff on the
 3   sole basis of plaintiff’s disability.
 4       31.        As a result of defendant’s conduct alleged in this Complaint, plaintiff has suffered
 5   and continues to suffer harm including, but not limited to lost wages, loss of opportunity, as
 6   well as humiliation, embarrassment, emotional distress, and mental anguish. These damages are
 7   continuing and should be awarded in an amount to be determined at trial.
 8                                        VII. PRAYER FOR RELIEF
 9   WHEREFORE, plaintiff prays for relief as follows:
10             a.    plaintiff’s back pay and front in excess of $50,000;
11             b. an expedited trial setting;
12             c. compensatory damages in the amount of $300,000 for plaintiff’s humiliation, pain
13                  and suffering;
14             d. pre- and post- judgment interest; and
15             e. for her costs, attorney fees, and expert fees and such further relief as the Court
16                  deems just and equitable.
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               DATED: April 29, 2009
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                                                              Respectfully submitted,
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23
                                                                    s/Lawrence Williamson, Jr.
24                                                            Lawrence W. Williamson, Jr. #21282
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 2
                                                           Attorneys for Plaintiff
 3
                                    DEMAND FOR A JURY TRIAL
 4
            COMES NOW the Plaintiff, by and through counsel, and respectfully requests that this
 5
     matter be set for a jury trial. Kansas City, Kansas designated for place of trial.
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                                                           By:_s/Lawrence W. Williamson, Jr.
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                                                           Attorney for plaintiff
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